       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 1 of 12




                       UNITED STATES DISTRICT COURT

                            DISTRICT OF MINNESOTA

ALEXANDER M. SHUKH,                                 Civil No. 10-404 (JRT/JJK)

                                Plaintiff,

v.
                                                  MEMORANDUM OPINION
SEAGATE TECHNOLOGY, LLC,                          AND ORDER GRANTING
SEAGATE TECHNOLOGY, INC.,                        DEFENDANTS’ MOTION TO
SEAGATE TECHNOLOGY,                             DISMISS TITLE VII PUNITIVE
UNKWNOWN OWNERS AND                                 DAMAGES CLAIM
ASSIGNEES, and SEAGATE
TECHNOLOGY, PLC,

                             Defendants.


      Katherine M. Vander Pol and James Kaster, NICHOLS KASTER, PLLP,
      80 South Eighth Street, Suite 4600, Minneapolis, MN 55402; Constantine
      John Gekas and John C. Gekas, GEKAS LAW, LLP, 11 South LaSalle
      Street, Suite 1700, Chicago, IL 60603, for plaintiff.

      Calvin L. Litsey, Chad Drown, Charles F. Knapp, David J. F. Gross,
      Elizabeth Cowan Wright, and Jeya Paul, FAEGRE BAKER DANIELS
      LLP, 90 South Seventh Street, Suite 2200, Minneapolis, MN 55402, and
      Sarah E Benjes, FAEGRE BAKER DANIELS L.L.P., 1700 Lincoln
      Street,. Suite 3200, Denver, CO 8020, for defendants.


      Defendants (collectively “Seagate”) move to dismiss or strike Alexander M.

Shukh’s Title VII request for punitive damages from his Third Amended Complaint. The

Court previously found that Shukh’s allegations of discrimination and retaliation were

little more than bare assertions that such events had occurred; Shukh has added no further




25
        CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 2 of 12




factual allegations of discrimination or retaliation beyond those the Court assessed at that

time. Because Shukh’s Third Amended Complaint is insufficient to state a claim for

punitive damages under Title VII, the Court will dismiss the request for punitive

damages.


                                    BACKGROUND

       Shukh filed suit in February 2010. (Docket No. 1.) He filed a First Amended

Complaint in April 2010. (Docket No. 7.) Seagate moved to dismiss the First Amended

Complaint, and the Court denied that motion. (Mem. Op. and Order, March 30, 2011,

Docket No. 140.)      The Court noted, however, that “Shukh’s pleadings related to

discrimination in pay, promotions, and failure to be recognized for achievements, consist

of little more than bare statements that such events occurred.” (Id. at 25.)

       Shukh moved for leave to file a Second Amended Complaint on December 1,

2011. (Docket No. 243.) The proposed Second Amended Complaint did not add any

new allegations of discrimination or retaliation; it did, however, add what Shukh called

“pro forma language regarding actual and punitive damages to the Prayers for Relief on

the Discrimination and Retaliation Claims.” (Id. at 1.) The Magistrate Judge allowed

Shukh to amend the complaint to add a punitive damages claim under Title VII.

(Dec. 15, 2011, Docket No. 250.) Shukh filed the Second Amended Complaint at the end

of December 2011. (Docket No. 255.)




                                            -2-
        CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 3 of 12




       Five days later, Shukh moved for leave to file a Third Amended Complaint.

(Motion, Jan. 4, 2012, Docket No. 257.) The parties stipulated to the filing of the Third

Amended Complaint with the understanding that Seagate could move to dismiss or strike

Shukh’s Title VII punitive damages claim. (Stipulation at 2, Jan. 13, 2012, Docket

No. 264.)   The Third Amended Complaint contained no new allegations relating to

discrimination or retaliation not included in the first two complaints.


                                        ANALYSIS

I.     STANDARD OF REVIEW

       Although a complaint need not contain “detailed factual allegations” to survive a

motion to dismiss, “a plaintiff’s obligation to provide the grounds of his entitle[ment] to

relief requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007) (internal quotation marks and citations omitted). The complaint must plead facts

that render a defendant’s liability plausible – not merely possible. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). In reviewing a complaint on a motion to dismiss the Court takes as

true all allegations in the complaint, which it construes in the light most favorable to the

nonmoving party. Carton v. Gen. Motors Acceptance Corp., 611 F.3d 451, 454 (8th Cir.

2010). It must not, however, give effect to conclusory allegations of law. Stalley ex rel.

United States v. Catholic Health Initiatives, 509 F.3d 517, 521 (8th Cir. 2007).




                                            -3-
           CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 4 of 12




II.    SEAGATE’S MOTION TO DISMISS1

       Seagate moves to dismiss Shukh’s punitive damages claim on the ground that the

Third Amended Complaint pleads insufficient facts from which to conclude that Seagate

discriminated with malice or reckless indifference. Plaintiffs seeking punitive damages

in employment discrimination cases must show that the employer intentionally

discriminated “with malice or with reckless indifference to the federally protected rights

of an aggrieved individual.” 42 U.S.C. § 1981a(b)(1); Kolstad v. Am. Dental Ass’n, 527

U.S. 526, 529-30 (1999). That is, “Congress . . . sought to impose two standards of

liability – one for establishing a right to compensatory damages and another, higher

standard that a plaintiff must satisfy to qualify for a punitive award.” Kolstad, 527 U.S.

at 534.      “The terms ‘malice’ or ‘reckless indifference’ pertain to the employer’s

knowledge that it may be acting in violation of federal law, not its awareness that it is

engaging in discrimination.” Id. at 535. To be liable in punitive damages, “an employer

must at least discriminate in the face of a perceived risk that its actions will violate

federal law . . . .” Id. at 536.



       1
           Seagate argues in the alternative that the request for punitive damages should be
stricken from the complaint pursuant to Federal Rule of Civil Procedure 12(f). While the Court
has liberal discretion under Rule 12(f), such motions are typically viewed with disfavor.
Stanbury Law Firm v. I.R.S., 221 F.3d 1059, 1063 (8th Cir. 2000). Moreover, many courts are
properly reluctant to strike matter from a complaint. See, e.g., Gilbee v. RJW Transport, Inc.,
2010 WL 4974863, at *2 (E.D. Mo. Nov. 24, 2010) (observing that “[m]atter in a complaint will
not be stricken unless it clearly can have no possible bearing on the subject matter of the
litigation”). In view of its conclusion that Rule 12(b)(6) is an appropriate vehicle to resolve this
motion, the Court need not exercise its Rule 12(f) discretion.



                                               -4-
       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 5 of 12




      Before turning to the question of whether the Third Amended Complaint plausibly

states a claim for punitive damages, the Court must address Shukh’s threshold objection

that the Iqbal / Twombly standard does not apply to the punitive damages claim. At least

some courts question the applicability to the expression of damages of Iqbal / Twombly’s

requirement that a complaint contain sufficient factual matter to render entitlement to

relief plausible. See Dotson v. Avon Prods., Inc., No. 10-881, 2011 WL 891863, at *6

(D.S.C. Feb. 8, 2011) (observing that it is “unclear” whether Iqbal and Twombly extend

to the expression of damages). And in arguing that his pro forma request for punitive

damages is sufficient, Shukh points to a number of cases that he claims stand for the

proposition that there is no “heightened” pleading requirement for punitive damages.

      But the cases do not suggest that claims for punitive damages are exempt from

Iqbal and Twombly’s pleading requirements. In each of the cases on which Shukh relies

the court observed that the fact-finder could plausibly infer from plaintiff’s factual

allegations that the standard for punitive damages was met. See Troyer v. I-Flow Corp.,

No. 11-0045, 2011 WL 2517031, at *5 (S.D. Ohio June 23, 2011) (quoting Iqbal and

Twombly as applicable and stating that the Court “can very plausibly infer” that the

standard for punitive damages was met); Clonch v. I-Flow Corp., No. 10-0348, 2010 WL

4806769, at *5 (S.D. Ohio Nov. 17, 2010) (same); Kademani v. Mayo Clinic, et al.,

No. 09-00219, Docket No. 132 at 2 (D. Minn. Nov. 2, 2010) (observing that “Plaintiff

need not specifically plead punitive damages so long as the complaint alleges conduct




                                          -5-
        CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 6 of 12




that would support a claim for punitive damages and defendants have notice that

Plaintiff intends to seek punitive damages[,]” and finding that the complaint alleged

sufficient facts to support such a claim) (emphasis added).

       In short, Shukh’s suggestion that Seagate’s motion is an attempt to force him to

prove up his claims at the pleading stage rings hollow in the wake of Iqbal and Twombly.

The Court finds that the requirement emerging from those cases that a complaint’s

allegations support a plausible inference of entitlement to relief applies to the expression

of punitive damages under Title VII. Shukh’s complaint, therefore, must allege sufficient

factual matter to permit the reasonable inference that Seagate engaged in intentional

discrimination with malice or reckless indifference to Shukh’s federally protected rights.

See Iqbal, 556 U.S. at 662; Kolstad, 527 U.S. at 526.

       Having determined that Iqbal applies, the Court now turns to whether Shukh’s

request for punitive damages meets the pleading standard. The Court’s prior observation

that “Shukh’s pleadings related to discrimination in pay, promotions, and failure to be

recognized for achievements, consist of little more than bare statements that such events

occurred” provides a useful starting point. (Mem. Op. and Order at 25.) The Court

declined to dismiss the national origin discrimination claims because “taking the facts in

a light most favorable to Shukh, and given that he was terminated despite being a very

successful inventor and a member of the Seagate Inventor Hall of Fame, the pleadings

[were] not so deficient they fail to state a claim that is plausible on its face.” (Id.)




                                              -6-
       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 7 of 12




      But obtaining punitive damages under Title VII requires more than mere

intentional discrimination. This “higher” standard requires Shukh to show that Seagate

intentionally discriminated “with malice or with reckless indifference” to his federally

protected rights. 42 U.S.C. § 1981a(b)(1); Kolstad, 527 U.S. at 529-30, 534. Yet the

Third Amended Complaint contains no new allegations relating to discrimination or

retaliation that were not included in the First Amended Complaint. (Compare Third

Amended Complaint, ¶¶ 228-262, 311-326, Jan. 17, 2012, Docket No. 269 with First

Amended Complaint, ¶¶ 228-262, 311-326, Apr. 7, 2010, Docket No. 7). If the First

Amended Complaint was barely sufficient to clear the Rule 12(b)(6) hurdle as to

intentional discrimination, Shukh’s claim for punitive damages plainly does not: the

allegations in the Complaint do not sufficiently speak to Seagate’s state of mind so as to

permit a reasonable inference of malice or reckless disregard of Shukh’s rights.

      True, many of the cases analyzing the “malice or reckless indifference”

requirement address motions brought after the plaintiff had ample opportunity to develop

the record and obtain the information necessary to establish that the defendant acted with

the requisite state of mind. See, e.g., Dominic v. DeVilbiss Air Power Co., 493 F.3d 968

(8th Cir. 2007) (post-trial motion challenging punitive damages award). Here, months of

discovery remain.    It is of course possible that Shukh could unearth evidence in

discovery that would get at Seagate’s management’s state of mind. And Shukh is correct

that some courts have allowed plaintiffs to file an amended complaint adding a punitive




                                           -7-
       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 8 of 12




damages claim where “facts in [the] amended complaint . . . might support a claim for

punitive damages . . . .” Coller v. Doucette, No. 4:09-780, 2010 WL 319652, at * 2 (E.D.

Mo. Jan. 20, 2010) (emphasis added). But, as described below, the facts in Shukh’s

Third Amended Complaint do not render it plausible, as Iqbal requires, that Seagate

discriminated against Shukh with malice or reckless disregard to his rights.

       Iqbal delineates the procedure for interrogating the sufficiency of a claim. First,

the Court must note the elements a plaintiff must plead to state a claim for punitive

damages in a discrimination case. Iqbal, 556 U.S. at 675. As determined above, a claim

for punitive damages under Title VII requires factual allegations that suggest intent

beyond what is required for a basic Title VII discrimination claim. “Section 1981a(a)(1)

limits compensatory and punitive awards to instances of intentional discrimination, while

§ 1981a(b)(1) requires plaintiffs to make an additional ‘demonstrat[ion]’ of their

eligibility for punitive damages.” Kolstad, 527 U.S. at 534. Specifically, the plaintiff

must show that the defendant “engaged in a discriminatory practice or discriminatory

practices with malice or with reckless indifference.”           Id. (quoting 42 U.S.C.

§ 1981a(b)(1)). Shukh must therefore plead sufficient facts to render it plausible that

Seagate engaged in intentional discrimination with malice or with reckless indifference to

Shukh’s federally protected rights.

       Second, the Court must identify the allegations in the complaint not entitled to the

assumption of truth.     Iqbal, 556 U.S. at 680.      The Third Amended Complaint’s




                                           -8-
       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 9 of 12




allegations of illegality, (Compl. ¶ 234), and an “extreme pattern of discrimination,”

(Compl. ¶ 229), are not entitled to the presumption of truth because they are conclusory.

Iqbal, 556 U.S. at 681.

      Third, the Court must consider the Complaint’s factual allegations to determine if

they plausibly suggest entitlement to relief. Id. The relevant paragraphs are 228-243 and

249-262. The Court finds that these paragraphs do not allege sufficient facts relating to

Seagate’s state of mind.     Among other facts, the complaint alleges that Shukh’s

compensation was lower than that of non-foreign employees; that he was denied

promotions granted to less qualified, non-foreign employees; that his name was

improperly omitted as an inventor from various patent applications; that Shukh was

“illegally” selected for termination; that he was “completely isolated” from the

organization; that he received a false poor performance review; and that Seagate made

various retaliatory threats following Shukh’s termination. (Third Am. Compl. ¶¶ 228-43,

247-62.)

      As the Court previously observed, these allegations are “little more than bare

statements that such events occurred.” (Mem. Op. and Order at 25.) And none of the

factual allegations – together or in isolation – reasonably permits the conclusion that

Seagate discriminated or retaliated against Shukh with malice or reckless disregard to

Shukh’s federally protected rights. As in Iqbal itself, Shukh’s complaint simply does not

contain enough factual information to plausibly suggest the requisite state of mind – here




                                           -9-
       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 10 of 12




that the employer discriminated in the face of a perceived risk that its actions will violate

federal law. Iqbal, 556 U.S. at 683; Kolstad, 527 U.S. at 526. Shukh “would need to

allege more by way of factual content to ‘nudg[e]’ his claim of purposeful discrimination

‘across the line from conceivable to plausible.’” Iqbal, 556 U.S. at 683 (citing Twombly,

550 U.S. at 570). In sum, the Court finds that Shukh’s allegations are insufficient to

allow the fact-finder reasonably to draw the conclusion that Seagate discriminated or

retaliated against Shukh “with malice or reckless indifference,” that is, with knowledge

that its actions may have been violative of federal law. See Kolstad, 527 U.S. 536.

Shukh’s request for punitive damages will therefore be dismissed.2


III.   SHUKH’S REQUEST TO AMEND

       In the alternative, Shukh requests leave to file a Fourth Amended Complaint to

add several allegations regarding the punitive damages claim. While courts are to “freely

give[]” leave to amend when “justice so requires,” Fed. R. Civ. P. 15(a)(2), “[a] district

court may appropriately deny leave to amend where there are compelling reasons such as

undue delay, bad faith, or dilatory motive, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the non-moving party, or futility of

the amendment.” Moses.com Sec., Inc. v. Comprehensive Software Sys, Inc., 406 F.3d

1052, 1065 (8th Cir. 2005) (internal quotation marks omitted).



       2
         The Court will, however, entertain a future request for permission to add a claim for
punitive damages from Shukh should he unearth in discovery a firm factual basis for it.



                                              - 10 -
       CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 11 of 12




      The Court will not grant Shukh leave to amend the complaint for two reasons.

First, Shukh has repeatedly failed to cure deficiencies with previously allowed

amendments. Shukh could have properly pled a Title VII punitive damages claim in the

original complaint or the First Amended Complaint if there were a factual basis for it.

Shukh could, moreover, have included the language he now seeks to add in his Second

Amended Complaint or the Third Amended Complaint. He did not. The Court will not

reward this kind of “repeated failure to cure deficiencies by amendments previously

allowed.” See id.

      Second, and perhaps more importantly, the proposed amendments do not cure the

deficiencies, and so must be denied as futile. See id. Shukh seeks to add language stating

that “because Defendants engaged in discriminatory [and retaliatory] practices with

malice or reckless indifference, Dr. Shukh is entitled to punitive damages.” But this is

the kind of “threadbare recital[] of the elements” devoid of factual enhancement that the

Supreme Court has declared to be insufficient. See Iqbal, 556 U.S. at 678. Indeed, this

addition is very similar to the language the Court rejected as conclusory in Iqbal. See id

at 681. For these reasons, the Court will deny Shukh’s request for leave to file a Fourth

Amended complaint.




                                          - 11 -
      CASE 0:10-cv-00404-JRT-FLN Doc. 322 Filed 07/03/12 Page 12 of 12




                                     ORDER

      Based on the foregoing, and the records, files, and proceedings herein, IT IS

HEREBY ORDERED that Seagate’s Motion to Dismiss or Strike Shukh’s Title VII

Punitive Damages Claim is GRANTED [Docket No. 270].


DATED: July 3, 2012                            ____s/                      ____
at Minneapolis, Minnesota.                           JOHN R. TUNHEIM
                                                  United States District Judge




                                      - 12 -
